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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                                   CIVIL ACTION NO. 12-859

    VERSUS                                                  SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                                   JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH



       CITY OF NEW ORLEANS’ NOTICE TO SUPPLEMENT COURT RECORD
     PURSUANT TO THE COURT’S ORDER OF MARCH 16, 2022 (REC. DOC. 1497)


        NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant, City

of New Orleans (“City”), who respectfully submits this notice to supplement the record, pursuant

to the Court’s order and directive of March 16, 2022,1 and represents as follows:

        In its Minute Entry of March 16, 2022 (“Minute Entry”),2 the Court ordered the City “. . .

to produce to the parties and to the Court all documentation of any sort (i.e., written

correspondence, emails, and/or minutes of meetings or telephone conferences) of communications

between the City and/or its consultants on the one hand and FEMA on the other regarding the

alleged need to ‘reopen’ or extend the 106 process, including FEMA’s direction that additional

public hearings are required prior to the procurement phase being initiated,” and to supplement the

record as the City continues to communicate with FEMA concerning Phase III. The City has

produced documents3 in response to the Court’s order and, consistent with that ongoing directive,4

hereby supplements its production with the following documentation:



1
  R. Doc. 1497.
2
  Id.
3
  R. Doc. 1498; R. Doc. 1506; R. Doc. 1511; R. Doc. 1516; R. Doc. 1517; R. Doc. 1522; R. Doc. 1527; R. Doc.
1529; R. Doc. 1533; R. Doc. 1535; R. Doc 1540; R. Doc. 1542, R. Doc. 1547; R. Doc. 1552; R. Doc. 1553: R. Doc.
1554, R. Doc 1557, R. Doc 1558, R. Doc. 1561.
4
  R. Doc. 1497. See also R. Doc. 1526.
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        1.) August 17, 2022, Phase III executive group meeting minutes.5

        2.) Email correspondence6 to the City from FEMA, forwarding the remaining public

            comment received as of September 22, 2022, and referenced in the City’s September

            23, 2022, filing7.

        3.) September 23, 2022, email correspondence8 from John Sousa of Hill International, Inc.,

            regarding the September 21, 2022, executive group meeting, and the September 22,

            2022, meeting between the City and FEMA confirming the Phase III project status and

            conveying next steps.

        4.) September 30, 2022, email correspondence9 from the City to FEMA enclosing one (1)

            handwritten comment card collected from the library locations.

        5.) October 4, 2022, email correspondences10 to the City from FEMA, forwarding nineteen

            (19) additional public comments received by end-of-day on September 30, 2022.

        6.) October 4, 2022, email string11 between the City, GOSHEP, and FEMA enclosing, for

            the City’s review and input, a working draft of the Phase III Project Worksheet, PW-

            21117v2, in the amount of $38,690,791.55.

        7.) September 21, 2022, Phase III executive group meeting minutes12 received by the City

            from John Sousa, Hill International, Inc., on October 5, 2022.

        The City respectfully acknowledges that it is under an ongoing obligation to supplement

this production as it continues to communicate with FEMA concerning Phase III.


5
  Attached hereto as Exhibit A.
6
  Attached hereto as Exhibit B.
7
  The City respectfully notes that six (6) public comments were received by FEMA September 8-9, 2022. Five, of
  which, were filed into the record at R. Doc. 1558.
8
  Attached hereto as Exhibit C.
9
  Attached hereto as Exhibit D.
10
   Attached hereto as Exhibit E.
11
   Attached hereto as Exhibit F.
12
   Attached hereto as Exhibit G.


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                                            Respectfully submitted,
                                            /s/ Donesia D. Turner
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                                            FACSIMILE: (504) 658-9868

                                            Counsel for the City of New Orleans




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 9, 2022, a copy of the foregoing was served,

contemporaneously or prior, upon all counsel of record in this proceeding via the court’s CM/ECF

system.

                                     /s/ Donesia D. Turner
                                     DONESIA D. TURNER




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